             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:21-cr-00070-MR-WCM-12



 UNITED STATES OF AMERICA,           )
                                     )
              Plaintiff,             )
                                     )
      vs.                            )               ORDER
                                     )
 (12) JANE IVISON GILL,              )
                                     )
              Defendant.             )


     THIS MATTER is before the Court upon the Defendant’s Appeal of

Order of Detention, which the Court construes as a Motion to Revoke or

Amend the Detention Order. [Doc. 118].

I.   PROCEDURAL BACKGROUND

     On August 3, 2021, the Defendant was charged in a multi-defendant

Bill of Indictment with one count of conspiracy to distribute and to possess

with intent to distribute a quantity of methamphetamine, in violation of 21

U.S.C. §§ 841(a) and 846; one count of possessing with intent to distribute

a quantity of methamphetamine, in violation of 21 U.S.C. § 841(a)(1); and

one count of possessing with intent to distribute a quantity of




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methamphetamine, and aiding and abetting in the same, in violation of 21

U.S.C. § 841(a)(1) and 18 U.S.C. § 2. [Doc. 3].

      On August 16, 2021, the Defendant’s initial appearance was held, at

which time the Honorable W. Carleton Metcalf, United States Magistrate

Judge, appointed counsel.        On August 18, 2021, the Defendant’s

arraignment and detention hearing was held. After reviewing the evidence

presented by the parties, as well as the arguments of counsel, Judge Metcalf

found that there was clear and convincing evidence that the release of the

Defendant would create a serious risk of harm or danger to the safety of the

community. He further found, by a preponderance of the evidence, that the

release of the Defendant would create a risk of flight. Accordingly, Judge

Metcalf ordered the Defendant to be detained pending trial. [Doc. 111]. This

appeal followed. [Doc. 118].

II.   STANDARD OF REVIEW

      Title 18 of the United States Code, section 3145, governs the review

and appeal of detention orders. This statute provides, in pertinent part, as

follows:

            If a person is ordered detained by a magistrate judge,
            … the person may file, with the court having original
            jurisdiction over the offense, a motion for revocation
            or amendment of the order. The motion shall be
            determined promptly.


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18 U.S.C. § 3145(b). In reviewing a motion to revoke or amend an

order of detention, the Court reviews the Magistrate Judge’s Order de

novo. United States v. Stewart, 19 F. App’x 46, 48 (4th Cir. 2001). The

Court “must make an independent determination of the proper pretrial

detention or conditions of release.” Id.

III.   ANALYSIS

       Section 3142 of Title 18 of the United States Code provides that if, after

holding a hearing, the Court finds that “no condition or combination of

conditions will reasonably assure the appearance of the person as required

and the safety of any other person in the community,” the Court shall order

the detention of the person pending trial. 18 U.S.C. § 3142(e)(1). There is

a presumption of detention, rebuttable by the defendant, if the Court finds

that there is probable cause to believe that the defendant committed certain

enumerated offenses. See 18 U.S.C. § 3142(e)(3).

       In determining whether detention pending trial is appropriate, the Court

must consider the following factors:

             (1) the nature and circumstances of the offense
             charged, including whether the offense is a crime of
             violence, a violation of section 1591, a Federal crime
             of terrorism, or involves a minor victim or a controlled
             substance, firearm, explosive, or destructive device;

             (2) the weight of the evidence against the person;


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           (3) the history and characteristics of the person,
           including –

                 (A) the person’s character, physical and
                 mental       condition,     family     ties,
                 employment, financial resources, length
                 of residence in the community,
                 community ties, past conduct, history
                 relating to drug or alcohol abuse, criminal
                 history,     and     record    concerning
                 appearance at court proceedings; and

                 (B) whether, at the time of the current
                 offense or arrest, the person was on
                 probation, on parole, or on other release
                 pending trial, sentencing, appeal, or
                 completion of sentence for an offense
                 under Federal, State, or local law; and

           (4) the nature and seriousness of the danger to any
           person or the community that would be posed by the
           person’s release . . . .

18 U.S.C. § 3142(g).

     Upon reviewing the evidence presented at the detention hearing, the

Court finds in accordance with the Magistrate Judge’s factual findings and

legal conclusions that detention is warranted in this case. The Defendant

concedes that, based upon the record before the Court, there is a

presumption that no condition or combination of conditions will reasonably

assure the appearance of the Defendant and the safety of the community.

While the Defendant has been released on bond for related state charges,



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the Court finds and concludes that the Defendant has failed to rebut the

presumption of detention.

     First, the nature and circumstances of the offenses charged involve a

controlled substance.   The Defendant is alleged to have conspired to

distribute 50 grams or more of actual methamphetamine and 500 grams or

more of a mixture or substance containing a detectable amount of

methamphetamine. [Doc. 3 at 2-3]. The Defendant is also alleged to have

possessed with intent to distribute 50 grams or more of actual

methamphetamine and aided and abetted the same. [Id. at 11-12]. The

nature and circumstances of the Defendant’s offenses therefore weighs in

favor of detention. See 18 U.S.C. § 3142(g)(1).

     Moreover, the weight of the evidence against the Defendant appears

to be compelling. At the Defendant’s detention hearing, the Government

presented the testimony of Officer Brian Leopard, a task force officer

employed by the Swain County Sheriff’s Office and assigned to the Drug

Enforcement Administration.   Through Officer Leopard, the Government

presented evidence that identified the Defendant as a source of supply of

methamphetamine.     The Government also proffered evidence that the

Defendant was found with methamphetamine in a bag matching a different

bag found at the residence of Rebecca Barker, a co-defendant in this case,


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and that there were transactions totaling $23,000 between the Defendant

and co-defendant Barker. Thus, the weight of the evidence against the

Defendant is a factor that also weighs in favor of detention. See 18 U.S.C.

§ 3142(g)(2).

     Further, the record indicates that the Defendant has attempted to flee

on two occasions. First, the Defendant attempted to avoid apprehension by

driving at a high rate of speed and then fleeing on foot. After she was

apprehended, the Defendant also attempted to escape from the Haywood

County Detention Center, where she was being held on state charges. The

Defendant’s history of flight attempts weighs in favor of detention. See 18

U.S.C. § 3142(g)(3).

     Having conducted an independent review of the audio recording and

transcript of the detention hearing and the Magistrate Judge’s Order, as well

as having considered the arguments of counsel, the Court concludes that

the Magistrate Judge carefully considered each factor set forth in 18 U.S.C.

§ 3142(g) and properly concluded that the Defendant has not rebutted the

presumption of detention. Accordingly, the Defendant’s motion to revoke or

amend the detention order is denied.




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                                   ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s Appeal of Order

of Detention [Doc. 118], which the Court construes as a Motion to Revoke or

Amend the Detention Order, is DENIED, and the Defendant shall remain

detained.

     IT IS SO ORDERED.
                            Signed: September 20, 2021




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